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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 Yvonne Becker, Christopher Nobles, and
                                                       Civ. No. 20-02016 (DWF/BRT)
 Rosa Ramirez,

                       Plaintiffs,                               ORDER

        v.

 Wells Fargo & Co.; Employee Benefit
 Review Committee; and Wells Fargo Bank,
 National Association,

                       Defendants.


       Before the Court is the parties’ Joint Stipulation Regarding Plaintiffs’ Second

Amended Complaint and Limited Further Amendments (Doc. No. 175). The Court adopts

only a part of the Joint Stipulation.

       IT IS HEREBY ORDERED that:

       On or before September 30, 2021, Plaintiffs shall file the Second Amended

Complaint in the form attached as Exhibit A to the parties’ Joint Stipulation Regarding

Plaintiffs’ Second Amended Complaint and Limited Further Amendments (Doc. No. 175-

1).

       The Court will hold a Zoom status conference on October 5, 2021, at 2:15 p.m.

to better understand the parties’ other joint stipulated proposals for amending the

Amended Pretrial Scheduling Order to permit additional amendments to the Second

Amended Complaint. To accommodate the status conference, the September 30, 2021

deadline for motions seeking to join other parties and motions seeking to amend the
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pleadings will be extended briefly, to October 12, 2021, so that the possibility of seeking

the amendments contemplated in the Joint Stipulation can be discussed with the Court

and the deadlines do not expire before the parties have a chance to further explain their

joint proposals.




Dated: September 28, 2021                        s/ Becky R. Thorson
                                                 BECKY R. THORSON
                                                 U.S. Magistrate Judge




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